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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                  Case No.: 1:07-cr-158
v.
                                                  HONORABLE PAUL L. MALONEY
RUBEN ANTONIO REYNA,

              Defendant.
                                   /


                           ORDER ADOPTING MAGISTRATE'S
                           REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Hugh W. Brenneman, Jr. in this action.                   The Report and

Recommendation was duly served on the parties and no objection has been made thereto

within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.     The Report and Recommendation of the Magistrate Judge (Dkt. #69) is

approved and adopted as the Opinion of this Court.

       2.     Defendant Ruben Antonio Reyna’s plea of guilty is accepted and defendant

is adjudicated guilty of the charges set forth in the Indictment.

       3.     The written plea agreement is hereby continued under advisement pending

sentencing.


Dated: September 7, 2007                          /s/ Paul L. Maloney
                                                  Paul L. Maloney
                                                  United States District Judge
